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11   LAWRENCE LELAND “LEE” LOOMIS
12
                         IN THE UNITED STATES DISTRICT COURT FOR THE
13
                                EASTERN DISTRICT OF CALIFORNIA
14

15
     UNITED STATES OF AMERICA,                      )       No. 2:12-CR-00315 JAM
16                                                  )
                                                    )       STIPULATION EXTEND DATES FOR
17          Plaintiff,                              )       FILING OPPOSITION BRIEFS, REPLYI
                                                    )       BRIEFS, GOVERNMENT WITNESS LIST,
18   v.                                             )       GOVERNMENT EXHIBIT LIST AND
                                                    )       ORDER
19                                                  )
     LAWRENCE LELAND “LEE” LOOMIS,
                                                    )
20                                                  )
            Defendant.                              )
21                                                  )
                                                    )
22                                                  )
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24
                                            STIPULATION

25
            Defendant, by and through defendant’s counsel of record, and Plaintiff United States of
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27   America, by and through its counsel of record, hereby stipulate as follows:

28          1.      Previously, the Court ordered the government to file a witness list and an exhibit


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     list by November 15, 2015. November 15, 2015, is a Sunday.
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 2           2.     By stipulation, the parties agreed to extend the deadline for the government to file

 3   a witness list and an exhibit list for one day to Monday, November 16, 2015.
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             3.     On March 24, 2015, the Court established a briefing schedule. Defense motions
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     needed to be filed by October 20, 2015. Responses are due on November 17, 2015. Replies are
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     due December 8, 2015.

 8           4.     The defense filed two motions on October 20, 2015.
 9           5.     After the filing of defense motions, the government identified several
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     QuickBooks backup files for the defense that it previously provided as part of the 4TB of
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     electronic discovery in this case. These files are potentially related to subjects raised by the
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13   defense in its motions.

14           6.     The defense is in the process of reviewing these QuickBooks backup files to
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     determine whether or not to withdraw, or modify, either of the motions it filed on October 20,
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     2015.
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             7.     By stipulation, the parties agreed to extend the time by which the government
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19   must file any opposition briefs to those motions to December 1, 2015.

20           8.     By stipulation, the parties agreed to extend the time by which the defense must
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     file any reply briefs to December 15, 2015.
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     IT IS SO STIPULATED
23
     Dated: November 6, 2015                                     BENJAMIN WAGNER
24

25                                                               U.S. ATTORNEY

26                                                        by:    /s/ David D. Fischer for
27
                                                                 JARED DOLAN
                                                                 Assistant U.S. Attorney
28                                                               Attorney for Plaintiff


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 2   Dated: November 6, 2015                            /s/ David D. Fischer
                                                        DAVID D. FISCHER
 3                                                      Attorney for Defendant
                                                        LAWRENCE LELAND LOOMIS
 4

 5
                                         ORDER
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     IT IS SO ORDERED this 10th day of November, 2015
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10
                                     /s/ John A. Mendez________________________
11                                   JOHN A. MENDEZ
                                     UNITED STATES DISTRICT COURT JUDGE
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